     Case 8:17-cv-01148-JVS-KES Document 8 Filed 07/18/17 Page 1 of 2 Page ID #:39



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6    Attorneys for Defendants Secure Channels, Inc., a California Corporation, Secured Channels Inc,
     a Delaware Corporation & Richard Blech, an Individual.
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8                                UNITED STATES DISTRICT COURT
9
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
10

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     SECURE CHANNELS, INC., a California       ) CASE NO: 8:17-cv-1148
12   Corporation; SECURE CHANNELS INC., a      )
                                               )
13   Delaware Corporation; Richard Blech, an   ) Honorable James V. Selna
     Individual,                               )
14          PLAINTIFFS,                        ) NOTICE OF INTERESTED PARTIES
                                               )
15
                   vs.                         )
                                               ) [Local Rule 7.1-1]
16                                             )
     ADRIAN PLESHA, an Individual;             )
17   ANTONELLI WOZNY PLESHA & CAMPA )
     LLC, a Florida, Limited Liability Company )
18                                             )
     and DOES 1 through 100, inclusive,        )
19          DEFENDANTS.                        )
                                               )
20   TO THE CLERK OF THE COURT, ALL INTERESTED PARTIES AND THEIR
21
     ATTORNEYS OF RECORD:
22
            The undersigned, counsel of record for Plaintiffs SECURE CHANNELS, INC., a
23

24
     California Corporation, SECURE CHANNELS, INC., a Delaware Corporation and RICHARD

25   BLECH, an Individual (hereinafter “Defendants”) certifies the following interested parties have a
26   direct, pecuniary interest in the outcome of this case.
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                                       NOTICE OF INTERESTED PARTIES        1
      Case 8:17-cv-01148-JVS-KES Document 8 Filed 07/18/17 Page 2 of 2 Page ID #:40



 1             These representations are made to enable the Court to evaluate possible disqualification

 2
       or recusal.
 3
                      PARTY                                         CONI\ECTION ANI} INTEREST
 4

       1.      Secure Channels fnc., a California Corporation                      Plaintiff
,5
  6    2.      Secure Channels Inc., a Delaware Corporation                        Plaintiff
 1     ,-,
       J.      Richard Blech, zn Individual                                        Plaintiff
 B
       4.      Adrian Plesha, arl Individual                                       Defendant
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       5.      Antonelli V/ozny Plesha &, Campa                                    Defendant
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l2     Dated: July 18, 2AI7                                                           AWGROUP
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                                                    By
74
                                                                   JAMES BEhIEDETTO
15                                                                 Attorney for Plaintiff
                                                    Secure Channels Inc. , a California Corporation
1,6
                                                    Secure Channels Inc., & Delaware Corporation
77                                                  Richard Blech, an Individual

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                                        NOTICE OF INTERESTED PARTIES          2
